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 8                                    UNITED STATES DISTRICT COURT
 9                                           DISTRICT OF ARIZONA
10 Jeremy Thacker,                                       No. 2:18-cv-00063-PHX-DJH
11                                   Plaintiff,          DEFENDANTS’ NOTICE OF
12 v.                                                    SERVICE OF SUPPLEMENTAL
                                                         DISCLOSURE STATEMENT
13 GPS Insight, LLC; Robert J. Donat,
   Individually and as Trustee of The
14 Robert Donat Living Trust Dated April
   19, 2017;
15
                         Defendants.
16
17            Defendants hereby give notice, pursuant to General Order 17-08, of service upon
18 Plaintiff of Defendants’ Ninth Supplemental Disclosure Statement by e-mail on
19 August 21, 2018.
20            RESPECTFULLY SUBMITTED this 21st day of August, 2018.
21
                                                         STINSON LEONARD STREET LLP
22
                                                   By:   /s/ Michael Vincent
23                                                       Carrie M. Francis
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27
28

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 1                                   CERTIFICATE OF SERVICE
 2            I hereby certify that on August 21, 2018, I caused the foregoing document to be
 3 filed electronically with the Clerk of Court through ECF; and that ECF will send an e-
 4 notice of the electronic filing to:
 5
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16 /s/ C. Roundtree
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